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UNITED sTATEs DISTRICT COURT __ _
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WESTERN DIVIsIoN

    
   
  

 

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STEVEN N. EDWARDS, fn §§
Plaintiff,

v. No. 04-2975-DP

DAIMLERCHRYSLER CORPORATION,

Defendant.

 

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT,
DAIMLERCHRYSLER CORPORATION’S MOTION FOR PARTIAL DISMISSAL

 

Before the Court is DaimlerChrysler Corporation’s (“Defendant”) Motion for Partial
Dismissal Pursuant to Fed. R.Civ.P. lZ(b)(6) (Dkt #7). For the following reasons, the Court
GRANTS in part and DENIES in part Defendant’s motion to dismiss
I. FACTUAL BACKGROUND

The following facts are presumed to be true for purposes of the instant motion only. Steven
N. Edwards (“Plaintift") became employed by Defendant’S predecessor (Chrysler Corporation) on
April l, 1974. ln 2002, Plaintiff Was the Regional Administrative l\/Ianager for Defendant’S
l\/Iemphis Zone Office. In late 2001 or early 2002, Defendant decided to close its Memphis Zone
Office, and either lay off or transfer the Memphis employees Plaintiffwas laid off on July 12, 2002.
At or near that time, Plaintiff was given documents by Defendant entitled “Surnmary of Total
Compensation Professional-Administrative and Managernent Employees Indefmite Layoff”
(“Summary Layoff’) and “Income Protection Plan Summary Plan Description” (“IPP”), (collectively

“the Plans”). Generally, the Plans set forth four options for payment of lay-off benefits: (l) Wee

  
  
 

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regular layoff benefits; (2) lump sum separation payments; (3) extended layoff benefits; or (4)
redemption benefits There is no dispute of fact that the Plans are governed by the Employee
Retirement Income Security Act (“ERlSA”). (Def.’s Brief in Support of Mot. for Partial Dis. at 5;
Pl.’s Opp. of Mot. for Partial Dis. at 3).

On February ll, 2004, Plaintiff requested an application for retirement under Defendant’s
corporate pension plan. On February 16, 2004, Plaintiff submitted the application The retirement
pension plan became effective on l\/Iarch l, 2004. On March ll, 2004, Plaintiff submitted an
application to receive layoff benefits under the Plans. Plaintiff elected the lump sum payment
option. ln a letter dated June l(), 2004, JoAnn Hartfleld (“Hartfield”), the Defendant’s lPP
administrator, notified Plaintiff that he Was not eligible for layoff benefits and had 30 days to appeal.
ln a letter dated luly 30, 2004, Plaintiff`s attorney acknowledged receipt of I-Iartfield’s letter and,
among other things, requested additional time to respond. ln a letter dated August 5, 2004, Plaintiff,
through counsel, opposed the denial of benefits under the Plans.

On November 30, 2004, Plaintiff filed a Complaint in the United States District Court in the
Western District of Tennessee, Western Division, alleging that Defendant violated federal and state
laws, namely, ERISA and Tennessee common law breach of contract Plaintiff also seeks a
declaratory judgment against Defendant. On January 18, 2005, Defendant filed the instant motion
for partial dismissal, pursuant to Federal Rule of Civil Procedure lZ(b)(6).

II. LEGAL STANDAR])

A party may bring a motion to dismiss for failure to state a claim under Rule lZ(b)(G) to test
Whether the plaintiff has pled a cognizable claim. Scheid v. Fanny Fanner Candy Shops, Inc., 859

F_2d 434, 436 (6th Cir. 1988). The U.S. Supreme Court has held that “a complaint should not be

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dismissed for failure to state a claim unless it appears beyond doubt that the plaintiff can prove no
set of facts in support of his claim which would entitle him to relief.” Conley v. Gibson, 355 U.S.
41, 45-46 (1957); §§ also Nietzke v. Williams, 490 U.S. 319, 326-27 (1989); Lewis v. ACB Bus.
Serv., Inc., 135 F.3d 389, 405 (6th Cir. 1997). In reviewing the complaint, a court must accept as
true all factual allegations, Windsor v. The Tennessean, 719 F.2d 155, 158 (6th Cir. 1983), and
where there are conflicting interpretations of the facts, they must be construed in a light most

favorable to the plaintiffl Sinay v. Lamson & Sessions Co., 948 F.2d 103 7, 1039-40 (6th Cir. 1991).

 

The plaintiff, however, has an obligation to allege the essential material facts of the case. M,
859 F.2d at 436-37. Legal conclusions or unwarranted factual inferences should not be accepted as
true. Le_wis,135 F.3d at 405-06.

When reviewing a 12(b)(6) motion to dismiss involving an ERlSA claim, a court must also
factor in ERlSA’s preemption over state claims brought pursuant to an employee benefit plan. §_ge
29 U.S.C. § 1144(a) (“[S]ubchapter 111 of this chapter shall supersede any and all State laws insofar
as they may now or hereafter relate to any employee benefit plan.”). As the Supreme Court has
observed, ERISA is a “comprehensive and reticulated statute,” Nachman Corp. v. Pension Benefits
Guaranty Corp_., 446 U.S. 359, 361 (1980), with “deliberately expansive” preemption provisions
Pilot Life lnsurance Co. v. Dedeaux, 481 U.S. 41, 45~46 (1987); see also l_ngersoll~Rand Co. v.
l\/lcClendon, 498 U.S. 133, 137 (1990); Firestone Tire & Rubber Co. v. Neusser, 810 F.Zd 550, 553
(6th Cir. 1987).

III. ANALYSIS

Plaintiff` s Complaint contains three counts In Count I Plaintiff seeks declaratory judgment

under the Defendant’s Plans. Count ll alleges that Plaintiff was damaged by Defendant’s breach of

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contract pursuant to its actions under the Plans. Finally, Count III alleges that the Defendant’s
actions violated ERlSA. Defendant seeks dismissal under Fed.R.Civ.P. 12(b)(6) of Counts I and II.
First, Defendant argues that 29 U.S.C. § 1 144(a) preempts Plaintiff` s common law breach of contract
claim. Second, Defendant argues that 29 U.S.C. § 1132(a) preempts the declaratory judgement
action because ERISA’s civil enforcement remedies are exclusive.l Third, Defendant moves to
dismiss oral statements made by its human resource personnel to Plaintiff2 Finally, Defendant
moves to strike Plaintiff` s jury demand arguing that claims for benefits under ERISA are not entitled
to a jury determination

A. Breach of Contract

The DaimlerChrysler Plan is an ERlSA employee benefit plan. Plaintiff asserts that there
is nothing inconsistent With alleging a claim for breach of contract in conjunction with or as part of
an ERlSA claim. Case law, however, firmly supports a contrary conclusion. In Cromwell v.

Equicor-Equitable HCA Corp., 944 F.2d 1272 (6th Cir. 1991), the Court set forth the Sixth Circuit’s

 

well-settled rule regarding ERISA’s broad preemption provisions and recognized that virtually all
state law claims relating to an employee benefit plan are preempted by ERISA. §,;e_€_: Cromwell, 944
F.2d at 1276 (citing Ruble v. UNUl\/I Life Ins. Co., 913 F.2d 295 (6th Cir. 1990); Davis v. Kentucky

Finance Cos. Retirement Plan, 887 F.2d 689 (6th Cir. 1989), cert. denied, 495 U.S. 905 (1990);

 

l This Court does not read the relief sought by Plaintiff under Count I to be an action under the Declaratory
Judgment Act, 28 U.S.C. § 2201, as argued in Defendant’s Brief in Support of Motion for Partial Dismissal Pursuant
to F.R.C.P. 12(b)(6). The Court construes Count 1 as one for declaratory relief in addition to damages sought under
its breach of contract claim. Accordingly, this Court does not reach the issue of whether a claim for relief under the
federal declaratory judgment act is preempted by ERISA’s civil enforcement provisions Under the civil enforcement
provisions of 29 U.S.C. § 1 144(a), ERISA relief may take the form of accrued benefits due, a declaratory judgment
on entitlement to benefits, an injunction against a plan administrator’s improper refusal to pay benefits, or removal of
the fiduciary under the breach of fiduciary duty action.

2 Though Defendant argues in its motion for dismissal that these oral statements should not be considered, it
appears that this request would more appropriately be termed a motion to strike.

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Mcl\/lahan v. New England l\/lut. Life lns. Co., 888 F.2d 426 (6th Cir. 1989); Firestone Tire &
Rubber Co. v. Neusser, 810 F.2d 550 (6th Cir. 1987)). The term “relate to” has been given its broad
common-sense meaning, “such that a state law ‘relate[s] to’ a benefit plan ‘in the normal sense of
the phrase, if it has a connection with or reference to such a plan.”’ Ld. at 1275-76 (citing
Metropolitan Life lns. Co. v. Tavlor, 471 U.S. 724, 739 (1985); Shaw v. Delta Air Lines, 463 U.S.
85, 97 (1983)). The narrow exception to ERISA’s preemptive power is its saving clause for state
laws regulating insurance w 29 U.S.C. § 1 l32(a). State law claims, such as Plaintiff’ s breach of
contract claim, sufficiently relate to the subject matter regulated by ERISA to come within its
preemptive scope. w, gg;, Lion’s Volunteer Blind Indus. v. Automated Group Admin., Inc., 195
F.3d 803, 808 (6th Cir. 1999) (misrepresentation claim Was sufficiently “related to” the subject
matter regulated by ERISA to be preempted); Daniel v. Eaton Co;p., 839 F.2d 263 (6th Cir. 1988),
cert. denied, 488 U.S. 826 (1988) (state law breach of contract and promissory estoppel claims are
preempted by ERISA). This Court finds that Plaintiff’s contract claim, including its prayer for
declaratory relief, is preempted by ERISA. Accordingly, the Court GRANTS Defendant’s motion
to dismiss on this claim.

B. Oral Statements in Support of an ERISA claim

Defendant argues that to the extent that Plaintiff` s claim for relief under ERISA relies on oral
statements for support, it fails to state a claim upon which relief can be granted. Defendant argues
that the federal common law established pursuant to ERISA does not support reliance on oral
statements Defendant cites no case law to support this propositionl

Courts have noted that equitable estoppel may be a viable theory in ERISA cases involving

welfare plans. Shepherd v. Dana Corp., 2000 U.S. App. LEXIS 2269 *5 (6th Cir. 2000) (citing

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Sprague v. General Motors. Coro., 133 F.3d 388, 404 (6th Cir. 1998) (en banc), cert. denied, 524
U.S. 923 (1998)). lt is clear, however, that the principle of equitable estoppel may only be invoked
to clarify ambiguous plan provisions §p;ragg, 133 F.3d at 404 (citing Fink v. Union Central Life
ln_s._(_j_g, 94 F.3d 489, 492 (8th Cir. 1996); Hudson v. Delta Air Lines. lnc., 90 F.3d 451, 458 n. 12
(11th Cir. 1996), cert denied, 519 U.S. 1149 (1997)) (emphasis added).

Thus, it is Plaintiff’ s burden to show that the Plan’ s language is ambiguous when he attempts
to introduce evidence of oral statements made by Defendant’ s human resource personnel Defendant
has not submitted the administrative record supporting its decision to deny Plaintiff benefits under
the Plan and does not argue that the Plan’s terms are unambiguous Thus, in reviewing the complaint
in a light most favorable to Plaintiff, the Court finds that it sufficiently states a claim for benefits
pursuant to the Plan and DENIES Defendant’s motion to dismiss all oral statements made by its
human resource personnel.

C. Request for Jury Trial

Finally, Defendant argues that Plaintiff’s request for a jury trial should be denied based on
the Sixth Circuit’s prior determination that jury trials are not available to a plaintiff in ERlSA
proceedings Defendant’s argument is premised upon its review of case law construing ERISA’s
goals of efficient resolution of claims to mean that federal district courts should act as an appellate
review authority §§§ Wilkins v. Baptist Healthcare Sys, 150 F.3d 609, 616 (6th Cir. 1998) (citing
Bair v. General Motors Corp., 895 F.2d 1094, 1096 (6th Cir. 1990) (holding that an ERISA claim
is equitable in nature and therefore is not eligible for Seventh Amendment right to jury trial)); §
also Crews v. Central States, Southeast and Southwest Areas Pension Fund, 788 F.2d 332, 338 (6th

Cir. 1986). Defendant’s argument is well-taken. Plaintiff’s request for a jury trial is now based

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solely on the surviving appeal from an ERISA claim denial. Accordingly, the Court holds that
Plaintiff is not entitled to a jury trial. Defendant’s motion to strike Plaintiff’s jury demand is
GRANTED.

IV. CONCLUSION

For the aforementioned reasons, the Court GRANTS Defendant’s motion to dismiss
Plaintiff`s breach of contract claim; DENIES Defendant’s motion to dismiss oral statements in
support of Plaintiff’s ERlSA claim; and GRANTS Defendant’s motion to strike Plaintiff s jury

demand

IT IS SO ORDERED this l & day of July, 2005.

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CV-02975 was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

